                       Case 1:24-cv-03571                 Document 1-9        Filed 12/20/24       Page 1 of 1

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                                                                   IRUWKH
                                                           District of Columbia
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        AMGEN INC.; ELI LILLY AND COMPANY;
                     UCB, INC.


                            3ODLQWLII V
                                 Y                                          &LYLO$FWLRQ1R 1:24-cv-3571
      XAVIER BECERRA, SECRETARY OF THE
       U.S. DEPARTMENT OF HEALTH AND
             HUMAN SERVICES, et al.

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                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV HEALTH RESOURCES AND SERVICES ADMINISTRATION
                                          5600 FISHERS LANE
                                          ROCKVILLE, MD 20857




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
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ZKRVHQDPHDQGDGGUHVVDUH Jeffrey L. Handwerker
                                          Arnold & Porter Kaye Scholer LLP
                                          601 Massachusetts Ave., NW
                                          Washington, DC 20001-3743



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